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IN THE UNITED STATES DISTRICT COURT FILEn
FOR THE WESTERN DISTRICT OF TEXAS we
AUSTIN DIVISION

EMPOWER TEXANS, INC., BRANDON C.
WALTENS, AND DESTIN R. SENSKY,
PLAINTIFFS,

V.

 

CHARLIE L. GEREN, IN HIS OFFICIAL
CAPACITY AS CHAIRMAN OF THE
COMMITTEE ON HOUSE
ADMINISTRATION OF THE TEXAS
HOUSE OF REPRESENTATIVES,
DEFENDANT.

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§ CAUSE NO. 1:19-CV-422-LY
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FINAL JUDGMENT
Before the court is the above-styled and numbered cause. On this date, the court
rendered an order dismissing this cause with prejudice. As nothing remains to resolve, the court
renders the following Final Judgment pursuant to Federal Rule of Civil Procedure 58.
IT IS ORDERED that Defendant Charlie L. Geren in his official capacity as Chairman
of the Committee on House Administration of the Texas House of Representatives recover his
costs of court from Plaintiffs Empower Texans, Inc., Brandon C. Waltens, and Destin R. Sensky.

IT IS FURTHER ORDERED that the case is hereby CLOSED.

SIGNED this KIVA day of May, 2019.

 

UNITED STATES
